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                     UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA

    JULIE ANN GOLDBERG, an                        Case No.: 2:23-cv-02395-GW-AGRx
    individual;
                                                  JOINT STATUS REPORT RE:
                   Plaintiff,                     DKT. NO. 129

                       v.




                                             1
                            JOINT STATUS REPORT RE: DKT. NO. 129
                                Case No.: 2:23-cv-02395-GW-AGRx
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    LAURA RACHEL RUANO, an
    individual; and THOMAS
    MONTELEONE, an individual;

                  Defendants.



   //
   //
   //
        Plaintiff Julie A. Goldberg (“Plaintiff” and with Defendants, the “Parties”) and
   Defendants Laura Ruano (“Mrs. Ruano”) and Thomas Monteleone (“Mr.
   Monteleone” and with Mrs. Ruano, “Defendants”) respectfully submit this Status
   Report re Dkt. No. 129:
   Plaintiff’s Position:
        The Plaintiff asserts that the Defendants have requested financial records for
   the three years prior to the alleged damages, specifically 2019, 2020, and 2021.
   These years are relevant to the Plaintiff's claim of malicious prosecution, as the first
   civil action was not filed or served until the end of 2021. Consequently, the request
   for records from additional years beyond that is excessive and violates privacy.
        Furthermore, the redactions provided by the Plaintiff have sufficiently met the
   Defendants' needs. The Defendants have received all pertinent information
   regarding income and expenses, excluding only salaries and outside counsel
   expenses, as directed by the Court. No further details concerning individual
   expenses or tax returns are necessary. As demonstrated in Plaintiff’s forthcoming ex
   parte application for an order to admit evidence, opposing counsel cannot be
   trusted with documents marked for attorney's eyes only. Should the Court admit the
   documents requested in Plaintiff’s forthcoming ex parte application, exhibits C and

                                              2
                             JOINT STATUS REPORT RE: DKT. NO. 129
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   D will further substantiate this issue.
        Therefore, the Plaintiff respectfully requests that the Court refrain from ruling
   on the tax return issue until it has considered Plaintiff’s application for an order to
   admit evidence. This consideration is crucial to illustrate why an attorney's
   eyes-only designation is inadequate in this case. If the Court accepts our redactions,
   then an attorney's eyes-only designation will be appropriate.
   Defendants’ Position:
        The Parties have preliminarily agreed to the production of Form 1120-S.
   However, disputes exist as to the scope of permissible redactions as well as the tax
   years in dispute.
        As to the redactions, Plaintiff proposes the redactions evidenced by Exhibit
   “A”, and Defendants propose the redactions evidenced by Exhibit “B”. Defendants
   need more information proposed by Plaintiff to adequately assess profits and losses
   for the years in dispute.
        As to the years in dispute, Plaintiff has offered 2019-2024, and Defendant
   seeks 2017 through the present. Defendants need an adequate baseline (i.e. a
   minimum of three years excluding 2020 due to COVID) prior to the initiation of the
   lawsuits at issue in 2021 to evaluate the damage claims.


                                                    Respectfully submitted,
   Dated: July 29, 2024
                                                    GOLDBERG & ASSOCIATES, P.C.


                                                    /s/ Julie A. Goldberg
                                                    By: Julie A. Goldberg
                                                    Plaintiff

   Dated: July 29, 2024                      MILLER MILLER GERBER LLP
                                                3
                               JOINT STATUS REPORT RE: DKT. NO. 129
                                Case No.: 2:23-cv-02395-GW-AGRx
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                    EXHIBIT A
                                                Case 2:23-cv-02395-GW-AGR Document 153 Filed 07/29/24 Page 5 of 20 Page ID #:4483

Form                                             1120-S                            U.S. Income Tax Return for an S Corporation                                                                OMB No. 1545-0123



                                                                                                                                                                                               2023
                                                                                           Do not file this form unless the corporation has filed or
Department of the Treasury                                                                 is attaching Form 2553 to elect to be an S corporation.
Internal Revenue Service                                                           Go to www.irs.gov/Form1120S for instructions and the latest information.
For calendar year 2023 or tax year beginning                                                                                                      , 2023, ending                                       , 20
A S election effective date                                                             Name                                                                                  D Employer identification number


B Business activity code
                                                                               TYPE     Number, street, and room or suite no. If a P.O. box, see instructions.                E Date incorporated
  number (see instructions)                                                    OR
                                                                               PRINT
                                                                                        City or town, state or province, country, and ZIP or foreign postal code              F Total assets (see instructions)
C Check if Sch. M-3 attached                                                                                                                                                  $
G                                               Is the corporation electing to be an S corporation beginning with this tax year? See instructions.      Yes       No
H                                               Check if: (1)    Final return (2)    Name change (3)             Address change (4)      Amended return (5)         S election termination
I                                               Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . .
J                                               Check if corporation: (1)     Aggregated activities for section 465 at-risk purposes (2)  Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22. See the instructions for more information.
                                                  1a    Gross receipts or sales                    b Less returns and allowances               c Balance                              1c
                                                  2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . .                                                  2
Income




                                                  3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . .                                               3
                                                  4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . .                                           4
                                                  5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . .                                            5
                                                  6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . .                                                 6
                                                  7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . . .                                           7
Deductions (see instructions for limitations)




                                                  8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . .                                                 8
                                                  9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . .                                                        9
                                                 10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        10
                                                 11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             11
                                                 12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        12
                                                 13     Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .                                                   13
                                                 14     Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562)                              14
                                                 15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . .                                              15
                                                 16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           16
                                                 17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . .                                                17
                                                 18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . .                                                       18
                                                 19     Energy efficient commercial buildings deduction (attach Form 7205) . . . . . . . . . .                                        19
                                                 20     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . .                                                   20
                                                 21     Total deductions. Add lines 7 through 20       . . . . . . . . . . . . . . . . . .                                            21
                                                 22     Ordinary business income (loss). Subtract line 21 from line 6 . . . . . . . . . . . .                                         22
                                                 23a    Excess net passive income or LIFO recapture tax (see instructions) . . .  23a
                                                    b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . .                 23b
                                                    c   Add lines 23a and 23b (see instructions for additional taxes) . . . . . . . . . . . . .                                      23c
Tax and Payments




                                                 24a    Current year’s estimated tax payments and preceding year’s overpayment
                                                        credited to the current year . . . . . . . . . . . . . . .                      24a
                                                    b   Tax deposited with Form 7004 . . . . . . . . . . . . . .                        24b
                                                    c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . .           24c
                                                    d   Elective payment election amount from Form 3800 . . . . . . . .                 24d
                                                    z   Add lines 24a through 24d . . . . . . . . . . . . . . . . . . . . . .                                                 .      24z
                                                 25     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . .                                     25
                                                 26     Amount owed. If line 24z is smaller than the total of lines 23c and 25, enter amount owed . .                         .      26
                                                 27     Overpayment. If line 24z is larger than the total of lines 23c and 25, enter amount overpaid . .                      .      27
                                                 28     Enter amount from line 27: Credited to 2024 estimated tax                                Refunded                     .      28
                                                        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                                                        belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign
                                                                                                                                                                                  May the IRS discuss this return
Here                                                                                                                                                                              with the preparer shown below?
                                                        Signature of officer                                             Date             Title                                   See instructions.    Yes     No
                                                           Print/Type preparer’s name                        Preparer’s signature                                Date         Check      if     PTIN
Paid                                                                                                                                                                          self-employed
Preparer
                                                           Firm’s name                                                                                                        Firm’s EIN
Use Only                                                   Firm’s address                                                                                                     Phone no.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                        Cat. No. 11510H                         Form 1120-S (2023)
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Form 1120-S (2023)                                                                                                                                        Page 2
Schedule B             Other Information (see instructions)
  1       Check accounting method:       a        Cash      b      Accrual                                                                           Yes No
                                         c         Other (specify)
  2       See the instructions and enter the:
          a Business activity                                               b Product or service
  3       At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If “Yes,” attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .
  4       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 (i) Name of Corporation            (ii) Employer            (iii) Country of      (iv) Percentage of (v) If Percentage in (iv) Is 100%, Enter the
                                                    Identification            Incorporation           Stock Owned     Date (if applicable) a Qualified Subchapter
                                                   Number (if any)                                                          S Subsidiary Election Was Made




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
          capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
          trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .
                     (i) Name of Entity             (ii) Employer          (iii) Type of Entity         (iv) Country of        (v) Maximum Percentage Owned
                                                    Identification                                       Organization               in Profit, Loss, or Capital
                                                   Number (if any)




  5a      At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                       .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of restricted stock . . . . . . . . . . .
          (ii) Total shares of non-restricted stock . . . . . . . . . .
      b   At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                .
          If “Yes,” complete lines (i) and (ii) below.
          (i)   Total shares of stock outstanding at the end of the tax year   . .
          (ii) Total shares of stock outstanding if all instruments were executed
  6       Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .
  7       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . .
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
          Instruments.
  8       If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
          basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
          (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
          gain reduced by net recognized built-in gain from prior years. See instructions       . . . . . . $
  9       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
          in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
 10       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . .
      a   The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
      b   The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $29 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
 11       Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . .
      a   The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
      b   The corporation’s total assets at the end of the tax year were less than $250,000.
          If “Yes,” the corporation is not required to complete Schedules L and M-1.
                                                                                                                                           Form 1120-S (2023)
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Form 1120-S (2023)                                                                                                                                             Page 3
Schedule B                        Other Information (see instructions) (continued)                                                                       Yes    No
 12                    During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
                       terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . .
                       If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . . $
 13                    During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions .
 14a                   Did the corporation make any payments in 2023 that would require it to file Form(s) 1099? . . . . . . . . . .
    b                  If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . . . . . . . . . . .
 15                    Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . .
                       If “Yes,” enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . $
 16                    At any time during the tax year, did the corporation: (a) receive (as a reward, award, or payment for property or services);
                       or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions .
Schedule K                        Shareholders’ Pro Rata Share Items                                                                           Total amount
                           1     Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . .                    .   .     1
                           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . .                  .   .     2
                           3a    Other gross rental income (loss) . . . . . . . . . . . .                     3a
                             b   Expenses from other rental activities (attach statement)        . . . .      3b
                             c   Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . .                .   .    3c
       Income (Loss)




                           4     Interest income . . . . . . . . . . . . . . . . . . . . . . .                                  .   .     4
                           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . .                            .   .    5a
                                             b Qualified dividends . . . . . . . . . . . .                    5b
                           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . .                                    .   .     6
                           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S))       . . . . . .         .   .     7
                           8a    Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . .              .   .    8a
                             b   Collectibles (28%) gain (loss) . . . . . . . . . . . . .                     8b
                             c   Unrecaptured section 1250 gain (attach statement) . . . . . .                8c
                           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . .                      .   .      9
                          10     Other income (loss) (see instructions) . . . Type:                                                       10
                          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . .                         .   .     11
       Deductions




                          12a    Charitable contributions . . . . . . . . . . . . . . . . . . . .                               .   .    12a
                             b   Investment interest expense . . . . . . . . . . . . . . . . . . .                              .   .    12b
                             c   Section 59(e)(2) expenditures . . . . . . Type:                                                         12c
                             d   Other deductions (see instructions) . . . . Type:                                                       12d
                          13a    Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . .                       .   .    13a
                             b   Low-income housing credit (other) . . . . . . . . . . . . . . . . .                            .   .    13b
                             c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)   .   .    13c
       Credits




                             d   Other rental real estate credits (see instructions) Type:                                               13d
                             e   Other rental credits (see instructions) . . . Type:                                                     13e
                             f   Biofuel producer credit (attach Form 6478)       . . . . . . . . . . . . . .                   .   .    13f
                             g   Other credits (see instructions) . . . . . Type:                                                        13g
   national
    Inter-




                          14     Attach Schedule K-2 (Form 1120-S), Shareholders’ Pro Rata Share Items—International, and
                                 check this box to indicate you are reporting items of international tax relevance . . . .
                          15a    Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . .                                 15a
 Minimum Tax
 (AMT) Items
  Alternative




                            b    Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . .                                     15b
                            c    Depletion (other than oil and gas)    . . . . . . . . . . . . . . . . . . .                             15c
                            d    Oil, gas, and geothermal properties—gross income . . . . . . . . . . . . . .                            15d
                            e    Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . . . .                            15e
                            f    Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . .                                15f
   Shareholder Basis




                          16a    Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . .                                    16a
    Items Affecting




                            b    Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . .                                     16b
                            c    Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . .                                      16c
                            d    Distributions (attach statement if required) (see instructions) . . . . . . . . . . .                   16d
                            e    Repayment of loans from shareholders . . . . . . . . . . . . . . . . . .                                16e
                            f    Foreign taxes paid or accrued       . . . . . . . . . . . . . . . . . . . .                             16f
                                                                                                                                               Form 1120-S (2023)
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Form 1120-S (2023)                                                                                                                                                                   Page 4
Schedule K
  ciliation Information               Shareholders’ Pro Rata Share Items (continued)                                                                                  Total amount
                             17a    Investment income . . . . . . . . . . . . . . .                       .   .     .   .   .       .   .   .    .      17a
               Other


                               b    Investment expenses . . . . . . . . . . . . . .                       .   .     .   .   .       .   .   .    .      17b
                               c    Dividend distributions paid from accumulated earnings and profits     .   .     .   .   .       .   .   .    .      17c
                               d    Other items and amounts (attach statement)
  Recon-




                             18     Income (loss) reconciliation. Combine the total amounts on lines 1 through 10. From the result,
                                    subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . . . .                                   18
Schedule L                            Balance Sheets per Books                           Beginning of tax year                                        End of tax year
                                                   Assets                              (a)                    (b)                               (c)                          (d)
  1                       Cash . . . . . . . . . . . . .
  2a                      Trade notes and accounts receivable . . .
    b                     Less allowance for bad debts . . . . . .                 (              )                                 (                         )
  3                       Inventories       . . . . . . . . . . .
  4                       U.S. government obligations . . . . . .
  5                       Tax-exempt securities (see instructions) . .
  6                       Other current assets (attach statement) . . .
  7                       Loans to shareholders . . . . . . . .
  8                       Mortgage and real estate loans . . . . .
  9                       Other investments (attach statement) . . .
 10a                      Buildings and other depreciable assets . . .
    b                     Less accumulated depreciation . . . . .                  (              )                                 (                         )
 11a                      Depletable assets . . . . . . . . .
    b                     Less accumulated depletion . . . . . .                   (              )                                 (                         )
 12                       Land (net of any amortization) . . . . . .
 13a                      Intangible assets (amortizable only) . . . .
    b                     Less accumulated amortization . . . . .                  (              )                                 (                         )
 14                       Other assets (attach statement) . . . . .
 15                       Total assets . . . . . . . . . . .
                                  Liabilities and Shareholders’ Equity
 16                       Accounts payable . . . . . . . . .
 17                       Mortgages, notes, bonds payable in less than 1 year
 18                       Other current liabilities (attach statement) . .
 19                       Loans from shareholders . . . . . . .
 20                       Mortgages, notes, bonds payable in 1 year or more
 21                       Other liabilities (attach statement) . . . .
 22                       Capital stock . . . . . . . . . . .
 23                       Additional paid-in capital . . . . . . .
 24                       Retained earnings . . . . . . . . .
 25                       Adjustments to shareholders’ equity (attach statement)
 26                       Less cost of treasury stock . . . . . .                                     (                         )                                 (                       )
 27                       Total liabilities and shareholders’ equity      . .
                                                                                                                                                                      Form 1120-S (2023)
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Form 1120-S (2023)                                                                                                                                                      Page 5
Schedule M-1            Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books      .   .   .   .                                5          Income recorded on books this year
  2       Income included on Schedule K, lines 1, 2,                                               not included on Schedule K, lines 1
          3c, 4, 5a, 6, 7, 8a, 9, and 10, not recorded                                             through 10 (itemize):
          on books this year (itemize):                                                  a         Tax-exempt interest $


  3       Expenses recorded on books this year                                          6          Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                      lines 1 through 12, and 16f, not charged
          through 12, and 16f (itemize):                                                           against book income this year (itemize):
      a   Depreciation $                                                                 a         Depreciation $

      b   Travel and entertainment $                                                    7          Add lines 5 and 6 .       .     .   .   .   .   .
                                                                                        8          Income (loss) (Schedule K, line 18).
  4       Add lines 1 through 3    .   .   .   .   .   .                                           Subtract line 7 from line 4 . . . .
Schedule M-2            Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                        Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                        (see instructions)
                                                                           (a) Accumulated             (b) Shareholders’          (c) Accumulated       (d) Other adjustments
                                                                         adjustments account         undistributed taxable       earnings and profits          account
                                                                                                   income previously taxed

  1       Balance at beginning of tax year . .         .   .   .   .
  2       Ordinary income from page 1, line 22         .   .   .   .
  3       Other additions . . . . . . .                .   .   .   .
  4       Loss from page 1, line 22 . . . .            .   .   .   . (                         )
  5       Other reductions     . . . . . .             .   .   .   . (                         )                                                        (                       )
  6       Combine lines 1 through 5 . . . .            .   .   .   .
  7       Distributions . . . . . . . .                .   .   .   .
  8       Balance at end of tax year. Subtract line 7 from
          line 6 . . . . . . . . . . . . . .
                                                                                                                                                            Form 1120-S (2023)
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                     EXHIBIT B
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                    EXHIBIT C
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                    EXHIBIT D
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     WITHHELD
     PENDING
     EX-PARTE
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